










NO. 07-08-0101-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL C

AUGUST 5, 2008
______________________________

GEORGE DEMPSY NORWOOD, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 106TH DISTRICT COURT OF LYNN COUNTY;

NO. 06-2835; HONORABLE CARTER T. SCHILDKNECHT, JUDGE
_______________________________


Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
ON ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, George Dempsy Norwood, appeals his conviction and sentence for
indecency with a child.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 20, 2008, the clerk’s record was filed in this case.  However, the clerk’s
record does not contain a certification of defendant’s right of appeal.  See Tex. R. App. P.
25.2(d).  Rule 25 requires the trial court to enter such a certification “each time it enters a
judgment of guilt or other appealable order.”  Tex. R. App. P. 25.2(a)(2). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, we abate this appeal and remand the cause to the trial court for
further proceedings.  On remand, the trial court shall utilize whatever means necessary to
secure a Certification of Defendant’s Right of Appeal, in compliance with Texas Rule of
Appellate Procedure 25.2(d), regarding appellant’s appeal of the trial court’s judgment. 
Once executed, the certification shall be included in a supplemental clerk’s record and filed
with this Court on or before August 25, 2008.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam
&nbsp;
Do not publish.


